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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

         IN RE:                                       §      CHAPTER 11
                                                      §
         KRISJENN RANCH, LLC, et al                   §      CASE NO. 20-50805-rbk
                                                      §
                                                      §
                DEBTOR                                §      (Jointly Administered)

         MOTION REQUESTING EXPEDITED CONSIDERATION OF DEBTOR’S
         JOINT EXPEDITED MOTION TO EXTEND DEBTORS’ EXCLUSIVITY
                           PERIOD BY 90 DAYS


  ******************************************************************************
  DEBTOR HAS REQUESTED EXPEDITED CONSIDERATION OF THIS MOTION AND
  HAS REQUESTED THAT A HEARING BE HELD ON THIS MOTION AT THE
  COURT’S EARLIEST CONVENIENCE. IF THE COURT IN FACT SETS THIS
  MOTION FOR AN EXPEDITED HEARING, THEN ONLY ATTENDANCE AT THE
  HEARING IS NECESSARY TO PRESERVE YOUR RIGHTS
  ******************************************************************************

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         KrisJenn Ranch, LLC, KrisJenn Ranch, LLC Series Pipeline ROW, and KrisJenn Ranch,

  LLC Series Uvalde Ranch’s (the “Debtors”), Debtor and Debtors-in-Possession submit this

  Motion Requesting Expedited Consideration of Debtor’s Joint Motion to Extend Debtors’

  Exclusivity Period by 90 Days (the “Motion”), and in support thereof respectfully shows the Court

  as follows:

                                         BACKGROUND

         1.     On April 27, 2020, (the “Petition Date”), the Debtors filed voluntary petitions for

  relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1330 (as amended,

  the “Code”). The Debtors continue to manage their financial affairs as a debtors-in-possession

  pursuant to §§ 1107 and 1108 of the Bankruptcy Code. No creditors’ committee has yet been


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  appointed in this case by the United States Trustee. No trustee or examiner has been requested or

  appointed.

         2.      Debtors, KrisJenn Ranch, LLC and Series Uvale Ranch purchased the KrisJenn

  Ranch (the “Ranch”) in 2013 for $3,952,000 and then invested an additional $840,000 in the

  Ranch. The Ranch derives its income from the sale of cattle and a white-tail deer hunting lease

  operation.

         3.      The Ranch is encumbered by a $5.9 million loan from Mcleod Oil (“Mcleod”)

  related to an investment in a pipeline and its right of way. The origins of this loan are complicated.

  In 2017, Debtor and Larry Wright loaned $4.1 million and $1.2 million, respectively, to Black

  Duck, LLC (“Black Duck”). Debtor, Krisjenn Ranch, LLC owned a 50% interest in Black Duck,

  and Daniel Moore owned the other 50% interest in Black Duck. The purpose of the loans was to

  fund Black Duck’s purchase of a discontinued oil pipeline (the “Pipeline”) and right of way for $5

  million plus closing costs of the purchase. The full $4.1 million that Debtor loaned to Black Duck

  was obtained through a loan between Debtor and Asilo Investments, Ltd. (“Asilo”). The Pipeline

  and right of way were purchased pursuant to a purchase money contract that was assigned to Black

  Duck from Longbranch Energy, L.P. (“Longbranch”). Under the assignment, Longbranch retained

  a 20% net profit share interest. The terms of that agreement are currently in dispute. Daniel Moore

  sold his 50% interest in Black Duck back to the company in exchange for a 20% net profit share

  interest to his Company DMA Properties, Inc. The terms of the agreement with Moore/DMA

  Properties, Inc. are also currently in dispute.

         4.      In 2018, Black Duck sold the Pipeline and right of way to TCRG East Texas

  Pipeline 1, LLC (“TCRG”) for $2.5 million, and—as part of the deal—Black Duck retained 16%

  of the gross profit from the Pipeline and right of way. The aggregate, projected profit to Black


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  Duck and other interested parties was $48,000 per day. Black Duck was unable to pay its debts to

  Debtor, and Debtor foreclosed on the note securing its loan to Black Duck. Shortly thereafter, in

  late 2018, Black Duck ceased being a going concern and was eventually wound down. The

  $2.5 million received from TCRG was allocated to Debtor to pay the debts encumbering the

  Pipeline and right of way—$1.2 million was used to repay Larry Wright, and $1.3 million was

  used to pay down the Asilo loan principal and accrued interest.

         5.      The loan from Mcleod was originally obtained to refinance the remaining

  $3.4 million loan from Asilo. Shortly after the TCRG purchase, Longbranch and Moore threatened

  TCRG with litigation for having purchased the Pipeline and right of way. As a result, Debtor

  KrisJenn Ranch, LLC agreed to repurchase the Pipeline and right of way from TCRG in 2019.

  Debtor repurchased the Pipeline and right of way under the Series Pipeline ROW by obtaining an

  additional $2.5 million in financing from Mcleod, increasing the total amount loaned from Mcleod

  to $5.9 million. All three Debtors are borrowers under the Mcleod debt.

         6.      Approximately $6.05 million is outstanding on the Mcleod debt. The Mcleod debt

  is also secured by the Pipeline and the right of way. Debtors defaulted on payments due to Mcleod

  in February 2020.

         7.      The issues regarding the pipeline are being litigation in Adversary Number 20-

  05027, which is set for trail on December 7, 2020. Debtors need to resolve the litigation to

  determine the terms for their plan of reorganization.

         8.      Pursuant to Section 1121, Debtors’ exclusivity period is set to terminate by

  operation of law on August 25, 2020. After notice and hearing, this Court has the inherent

  authority to extend the 120-day period. See 11 U.S.C. 1121(d).

                                      RELIEF REQUESTED


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         9.      Debtor requests expedited consideration of their Joint Motion to Extend Debtors’

  Exclusivity Period by 90 Days.

                                               PRAYER

         WHEREFORE, premises considered, Debtor respectfully requests that the Court grant this

  request and set the Joint Motion to Extend Debtors’ Exclusivity Period by 90 Days to be heard at

  the Court’s earliest convenience.

         Dated: August 6, 2020

                                               Respectfully submitted,

                                               MULLER SMEBERG, PLLC
                                               By:    /s/ Ronald J. Smeberg                 .
                                                      RONALD J. SMEBERG
                                                      State Bar No. 24033967
                                                      MULLER SMEBERG, PLLC
                                                      111 W. Sunset
                                                      San Antonio, Texas 78209
                                                      210-664-5000 (Tel)
                                                      210-598-7357 (Fax)
                                                      ron@smeberg.com
                                                      ATTORNEY FOR DEBTOR


                               CERTIFICATE OF CONFERENCE

          The undersigned certifies that he conferenced with the United States Trustee and counsel
  for Mcleod Oil, Longbranch, and DMA via email. DMA is unopposed and the other counsels have
  not yet responded.
                                                      /s/ Ronald J. Smeberg
                                                      RONALD J. SMEBERG

                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 6, 2020, true and correct copies of the foregoing will be
  forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage prepaid,
  on, all parties listed on the attached Service List.

                                                      /s/ Ronald J. Smeberg
                                                      RONALD J. SMEBERG

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                                  SERVICE LIST
  DEBTOR                      Rusk County                  JOHNS &COUNSEL
                              202 N Main St,               PLLC
  KrissJenn Ranch, LLC        Henderson, Texas 75652       14101 Highway 290 West,
  410 Spyglass Rd                                          ste 400A
  Mc Queeney, TX 78123-       Shelby County, Tax           Austin, Texas 78737
  3418                        Collector
                              200 St. Augustine St.        Timothy Cleveland
  GOVERNMENT                  Center, Texas 75935          CLEVELAND|TERRAZA
  ENTITIES                                                 S PLLC
                              Tenaha ISD Tax Assessor-     4611 Bee Cave Road, ste
  Office of the UST           Collector                    306B
  615 E Houston, Room 533     138 College St               Austin, Texas 78746
  PO Box 1539                 Tenaha, TX 75974-5612
  San Antonio, TX 78295-                                   DMA Properties, Inc. and
  1539                        Uvalde Tax Assessor          Frank Daniel Moore
                              Courthouse Plaza, Box 8      c/o NATALIE F. WILSON
  U.S. Attorney               Uvalde, Texas 78801          LANGLEY & BANACK
  Attn: Bkcy Division                                      INC.
  601 NW Loop 410, Suite      NOTICE PARTIES               Trinity Plaza II, Suite 700
  600                                                      745 East Mulberry
  San Antonio, Texas 78216    METTAUER LAW FIRM            San Antonio, Texas 78212-
                              c/o April Prince             3166
  Internal Revenue Services   403 Nacogdoches St Ste 1
  Special Procedures Branch   Center, TX 75935-3810        SECURED
  300 E. 8th St. STOP 5026                                 CREIDITORS
  AUS                         Albert, Neely & Kuhlmann
  Austin, TX 78701            1600 Oil & Gas Building      McLeod Oil, LLC
                              309 W 7th St                 c/o John W. McLeod, Jr.
  Texas Comptroller of        Fort Worth, TX 76102-        700 N Wildwood Dr
  Public Account              6900                         Irving, TX 75061-8832
  Attn: Bankruptcy
  P.O. Box 149359             Laura L. Worsham             UNSECURED
  Austin, TX 78714-9359       JONES, ALLEN &               CREIDITORS
                              FUQUAY, LLP
  Angelina County Tax         8828 Greenville Ave.         Bigfoot Energy Services
  Assessor                    Dallas, Texas 75243          312 W Sabine St
  606 E Lufkin Ave,                                        Carthage, TX 75633-2519
  Lufkin, Texas 75901         Craig Crockett
                              CRAIG M. CROCKETT, PC        C&W Fuels, Inc.
  Nacogdoches County Tax      5201 Camp Bowie Blvd.        Po Box 40
  Assessor Collector          #200                         Hondo, TX 78861-0040
  101 West Main Street        Fort Worth, Texas 76107
  Nacogdoches, Texas                                       Davis, Cedillo & Mendoza
  75961                       Christopher S. Johns         755 E Mulberry Ave Ste
                                                           500

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  San Antonio, TX 78212-      Seneca, SC 29678
  3135

  Granstaff Gaedke &
  Edgmon
  5535 Fredericksburg Rd
  Ste 110
  San Antonio, TX 78229-
  3553

  Hopper's Soft Water
  Service
  120 W Frio St
  Uvalde, TX 78801-3602

  Larry Wright
  410 Spyglass Rd
  Mc Queeney, TX 78123-
  3418

  Medina Electric
  2308 18th St.
  Po Box 370
  Hondo, TX 78861-0370

  Medina's Pest Control
  1490 S Homestead Rd
  Uvalde, TX 78801-7625

  Texas Farm Store
  236 E Nopal St
  Uvalde, TX 78801-5317

  Uvalco Supply
  2521 E Main St
  Uvalde, TX 78801-4940

  Longbranch Energy
  c/o DUKE BANISTER
  RICHMOND
  Po Box 175
  Fulshear, TX 77441-0175

  DMA Properties, Inc.
  896 Walnut Street at US
  123 BYP
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